        Case 1:21-cv-07395-RA-KHP Document 116 Filed 04/05/22 Page 1 of 1




UNITED STATES DISTRICT COURT
                                                                                        04/05/2022
SOUTHERN DISTRICT OF NEW YORK
FRHUEB INC.
                               Plaintiff,
         -against-                                    21 Civ. 7395 (RA)
                                                      ORDER FOR ADMISSION
                                                      PRO HAC VICE
THIAGO SABINO DE FREITAS ABDALA
and PRISCILA PATTO
                     Defendants.
        The motion of Ethan Barr for admission to practice Pro Hac Vice in the above captioned

action is granted.

        Applicant has declared that he is a member in good standing of the bar of the

District of Columbia; that his contact information is as follows:

         Applicant name: Ethan Barr
         Firm: Lutzker & Lutzker LLP
         Address: 1233 20th Street, NW Suite 703
         City/State/Zip: Washington, DC 20036
         Telephone/Fax: 202-408-7600/202-408-7677


Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel for

Thiago Sabino De Freitas Abdala and Priscila Patto in the above entitled action;

IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the above

captioned case in the United States District Court for the Southern District of New York. All

attorneys appearing before this Court are subject to the Local Rules of this Court, including the

Rules governing discipline of attorneys.

           04/05/2022
Date:
                                                      United States District/Magistrate Judge
